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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


                                                                Chapter 11
    In re
                                                                Case No. 16-11626 (CTG)
    ESSAR STEEL MINNESOTA LLC and ESML
    HOLDINGS INC.,1                                             (Jointly Administered)

                            Reorganized Debtors.


    MESABI METALLICS COMPANY LLC
    (F/K/A ESSAR STEEL MINNESOTA LLC),

                            Plaintiff,

            v.                                                  Adv. Proc. No. 17-51210 (CTG)

    CLEVELAND-CLIFFS INC. (F/K/A CLIFFS
    NATURAL RESOURCES INC.);
    CLEVELAND-CLIFFS MINNESOTA LAND
    DEVELOPMENT LLC; GLACIER PARK IRON
    ORE PROPERTIES LLC; and DOES 1-10

                            Defendants.


    GLACIER PARK IRON ORE PROPERTIES
    LLC,

                             Counterclaim Plaintiff,

            v.

    MESABI METALLICS COMPANY LLC
    (F/K/A ESSAR STEEL MINNESOTA LLC),

                             Counterclaim Defendant.




1
          Essar Steel Minnesota LLC has changed its name to Mesabi Metallics Company LLC. The last four digits
of its federal taxpayer identification number are 8770. The last four digits of ESML Holdings Inc.’s federal taxpayer
identification number are 8071.
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                AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                      HEARING ON AUGUST 7, 2023 AT 2:30 P.M. (ET)

                     COURTCALL WILL NOT BE USED FOR THIS HEARING.
                      ALL AUDIO WILL BE PROVIDED THROUGH ZOOM.

    ESML/Mesabi—Case No. 16-11626 (CTG)
    When: August 7, 2023 at 2:30 PM Eastern Time (US and Canada)

    All participants must register prior to the hearing through this link:
    https://debuscourts.zoomgov.com/meeting/register/vJIscuiqqj8uE2hD9x6DUFefLgTm37T7abY

    After registering, you will receive a confirmation email containing information about joining the meeting.


I.         MATTERS GOING FORWARD

           1.      [SEALED] Letter to the Honorable Craig T. Goldblatt Regarding Public Filings
                   [Date Filed: 7/21/23; D.I. 774]

                   Related Documents:

                   a.        [SEALED] Letter to the Honorable Craig T. Goldblatt Regarding
                             Disclosure of Redacted Rebuttal Reports [Filing Date: 8/6/23; D.I. 780]

                   b.        Letter to the Honorable Craig T. Goldblatt Regarding Public Versions
                             of Preliminary Injunction Briefs [Date Filed: 8/6/23; D.I. 781]

                   Response Deadline: At the direction of the Court, August 5, 2023 at 12:00 p.m.
                   (ET).

                   Responses Received:

                   a.        [SEALED] Letter to the Court in Opposition to Mesabi's July 21, 2023
                             Letter filed by Cleveland-Cliffs Minnesota Land Development LLC,
                             Cleveland-Cliffs, Inc. [Date Filed: 8/5/23; D.I. 778]

                   Status:      This matter is going forward.




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    Amended items appear in bold.

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Dated: August 6, 2023                    BAYARD, P.A.
Wilmington, Delaware
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